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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF MARYLAND


UNITED STATES OF AMERICA                             Criminal No. LKG-22-7

                    v.

MARILYN J. MOSBY,

                             Defendant


                                     JOINT STATUS REPORT

        The parties write in response to the Court’s Order of January 27, 2023, ECF No. 188,

 directing them to meet and confer regarding the schedule for pre-trial proceedings and trial. The

 parties have done so. Counsel for the Defendant has informed the Government that because of his

 recent appointment, he will not be prepared to try this case until June 6, 2023. Therefore, the parties

 request a scheduling conference to set a trial date and dates for pretrial matters that is convenient

 for both parties and the Court.

                                                        Respectfully submitted,

                                                        EREK L. BARRON
                                                        UNITED STATES ATTORNEY

                                                         By:________/s/___________
                                                              Leo J. Wise
                                                              Sean R. Delaney
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                                                        ___________/s/____________
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